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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

 STACEY SMOTHERS,individually and
 as natural parent and legal guardian of
 L.S., a minor child,

        Plaintiffs,
                                                     CASE NO.: 6:15-CV-1100-0r1-40DAB
 v.


 JEANNA CHRISTINE TESSENSOHN;
 COCA-COLA ENTERPRISES,INC.; a
 foreign corporation; and COCA-COLA
 REFRESHMENTS USA,INC., a
 foreign corporation,

        Defendants.


      AGREED RENEWED MOTION TO SEAL,OR IN THE ALTERNATIVE,MOTION
        FOR IN CAMERA REVIEW,AND SUPPORTING MEMORANDUM OF LAW

        Defendant Coca-Cola Refreshments USA, Inc. ("CCR") files this Agreed Renewed

 Motion To Seal, Or In The Alternative, Motion for In Camera Review, and Supporting

 Memorandum of Law, seeking to renew its original Motion to Seal [DE 19], and as grounds

 therefore, state the following:

         1.     The above-styled action was commenced on behalf of Plaintiffs, Stacey Smothers,

 individually and as natural parents and legal guardians of L.S., a minor child, as a result of an

 accident which occurred on April 27, 2011. As a result of the accident, Plaintiff, L.S., a minor

 child suffered injuries.

        2.      A confidential settlement was reached for Plaintiff L.S. with Defendants CCR and

 Jeanna Christine Tessensohn.
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        3.      The parties agreed that Court approval of the minor's settlement should be

 obtained. Guardian ad litem Louis "Buck" Vocelle has been appointed in this matter.[DE 21, 22]

        4.      As part of the parties' settlement agreement, the parties agreed that the terms of

 the settlement would be kept confidential. The settlement agreement states the following as to

 confidentiality: "L.S.'s natural parents and legal guardians or court-appointed guardian ad litem

 will execute a Release of All Claims and Indemnification Agreement on Landon Smothers'

 behalf, which shall include an indemnity agreement and confidentiality agreement that keeps

 both the terms and the fact the case was settled confidential."

        5.      Likewise, the releases the parties have agreed upon further contain a similar

 confidentiality provision. The releases contain the following provision regarding confidentiality:

 "Releasor agrees that the terms, fact that there was any settlement, and circumstances of this

 settlement are strictly confidential and shall not be disclosed by Releasor to anyone not a party to

 this release, unless otherwise compelled by law, court order or as necessary to obtain to obtain

 approval for the resolution of L.S.'s claims against Releasees from the court with jurisdiction

 over this action."

        6.      On November 20, 2015, this Court denied Plaintiffs' Motion to Seal without

 prejudice to renew, if necessary. [DE 21] Therefore, Plaintiffs renew the motion with the

 agreement of Defendants and the guardian ad litem, but the renewed request is limited only with

 respect to the settlement amounts pursuant to the confidentiality provisions of the parties'

 settlement agreement and releases.

         7.      The parties wish to submit the documents pertinent to the settlement, along any

 report, findings and / or recommendations from the guardian ad litem, for this Court's

 consideration. Due to the parties' confidentiality agreement, the parties request, with the



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 agreement of the guardian ad litem, that the aforementioned documents from the guardian ad

 litem be filed, but the documents showing the settlement amounts to be done so under seal. In the

 alternative, the parties wish to file the aforementioned documents with only the settlement

 amounts redacted, including information regarding disbursements of the proceeds. The

 remainder of the documents and terms will not be redacted. The guardian ad litem would then

 file under seal the unredacted versions of the documents that show the settlement amounts or

 provide the non-redacted versions to this Court for an in camera review.

        8.      Filing the documents is necessary for the guardian ad litem to seek approval and

 filing a redacted or sealed version of the documents is necessary to preserve the parties'

 confidentiality agreement. The parties believe the only documents that would show the

 settlements amounts, which is the only information for which the parties seek to maintain

 confidentiality, would be the report by the guardian ad litem, the parties' settlement agreements

 and the releases. The only other means the parties are aware of to preserve the confidentiality

 agreement other than filing under seal is to redact the settlement amounts from the documents

 and provide unredacted versions for an in camera inspection. The parties would request the seal

 to remain in effect through conclusion of the settlement approval process of L.S.'s settlement.

                                   MEMORANDUM OF LAW

        9.      Pursuant to Local Rule 1.09, the parties seek Court Approval of the minor

 settlement at issue under seal for protection of the parties' entered-into settlement agreement.

 Rule 1.09 sets forth factors to be addressed by the parties, which have been address above.

         10.    Although the parties recognize the public does have the right to information

 pertaining to the lawsuit, in most cases when parties settle, the Court does not examine or




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 approve the agreements and the settlements are purely private contracts. See Bartelloni v.

 DeCastro, No. 05-80910-CIV-CORN, 2007 WL 2155646, at *1 (S.D. Fla. July 26, 2007).

         11.    However, due to the nature of L.S. being a minor and pursuant to agreement by

 the parties, the parties are seeking approval of L.S.'s settlement in this case, but request that the

 settlement amounts as to the settlements are kept confidential. See Fla. Stat. § 744.3025(3)("A

 settlement of a claim pursuant to this section ["Claims of minors"] is subject to the

 confidentiality provisions of this chapter."); see also Fla. Stat. § 744.3701(1)("Unless otherwise

 ordered by the court, upon a showing of good cause, an initial, annual, or final guardianship

 report or amendment thereto, or a court record relating to the settlement of a claim, is subject to

 inspection only by the court, the clerk or the clerk's representative, the guardian and the

 guardian's attorney, the guardian ad litem with regard to the settlement of the claim, the ward if

 he or she is at least 14 years of age and has not been determined to be totally incapacitated, the

 ward's attorney, the minor if he or she is at least 14 years of age, or the attorney representing the

 minor with regard to the minor's claim, or as otherwise provided by this chapter."); see also Fla.

 Stat. § 744.3701(3) ("A court record relating to the settlement of a ward's or minor's claim,

 including a petition for approval of a settlement on behalf of a ward or minor, a report of a

 guardian ad litem relating to a pending settlement, or an order approving a settlement on behalf

 of a ward or minor, is confidential and exempt from the provisions of s. 119.07(1) and s. 24(a),

 Art. I of the State Constitution and may not be disclosed except as specifically authorized.").

         12.     Without proceeding with the settlement approval process in a manner to maintain

 confidentiality as to the settlement amounts, the parties will be forced to disclose the amounts of

 the settlements to the public despite their prior agreement to maintain confidentiality as to the

 terms of the settlements. The parties are unable to identify any other method of obtaining Court



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 approval for the aforementioned settlement without the disclosing of the amounts of the

 settlement. As such, Plaintiffs seek to file the documents that would contain the settlement

 amounts under seal, or in the alternative, to redact the settlement amounts from those documents

 to be filed with the court and to provide unredacted versions to the Court for an in camera

 review.

           13.   Upon a balancing of the test of the right of access to the courts and the ultimate

 harm to the parties, the parties believe the potential for negative consequences outweigh the

 interest the public may have in the specific settlements amounts of the settlements in this case,

 and that there is good cause to keep the limited information of the amounts private. See

 Breedlove v. Hartford Lift & Accident Ins. Co., No. 6:11-cv-991-0r1-28TBS, 2013 WL 1935251

 (M.D. Fla. May 9, 2013). While the parties recognize that generally settlement agreements will

 not be sealed, the parties are seeking that only the settlement amounts, and not the agreement or

 other terms, be kept confidential pursuant to the parties' confidentiality agreement, especially in

 light of the settlement involving a claim of a minor. See e.g., Siemens Industry Inc. v. SIPCO,

 LLC, No. 1:10-cv-2478-JEC, 2013 WL 2285564, *2(N.D. Ga. May 23, 2013)(granting motions

 to seal "because the referenced filings include and restate the material provisions of a

 confidential settlement agreement"); see e.g., Vazquez v. 1052 LLC, No. 15-22677-Civ, 2016

 WL 541432, n. 1 (S.D. Fla. Feb. 11, 2016) ("Since the parties submitted their fully

 executed Settlement Agreement to the Court for an in camera inspection, I will maintain the

 agreement's confidentiality and refrain from disclosing the exact settlement amount.").

           14.   The Defendants have a legitimate interest in keeping the amount they pay in

 settlements confidential so as to not impact other litigation or claims by providing a subjective

 value of cases to other claimants and litigants. Furthermore, the documents at issue also discuss



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 the settlement terms and amounts for Plaintiff Stacey Smother's settlement, which is not at issue

 in the approval process of L.S.'s settlement, and which would generally remain a confidential

 settlement without the need of filing its terms in the public record. Plaintiffs have an interest in

 keeping the amount of money they receive confidential so that others are not made aware of the

 income received as a result of this litigation. Having the settlement amounts made public could

 adversely impact the parties' abilities to negotiate and evaluate future claims and lawsuits.

        15.     The parties do not seek the withholding of any other information relating to the

 case at issue unrelated to the settlement amount(s).

                             LOCAL RULE 3.010) CERTIFICATE

        16.     The undersigned discussed the relief sought in this motion with the parties and the

 guardian ad litem and all agree to the relief sought in this motion.

         WHEREFORE, Defendant Coca-Cola Refreshments USA, Inc., upon agreement by all

 parties, respectfully requests that this Court enter an Order permitting settlement to proceed

 under seal pursuant to Local Rule 1.09 for the limited purposes outlined above and for such other

 relief as this Court deems appropriate.




                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I electronically filed the foregoing Agreed Motion with the

 Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to the

 following: Joseph H. Graves, Esquire at Pleadings@gravesinjury.com (Counsel for Plaintiffs)

 and to Christopher T. Hill, Esquire at filings@hrkmlaw.com, chill@hrkmlaw.com, and

 amanda@hrkmlaw.com and to Louis B. Vocelle (Guardian Ad Litem for L.S., minor child) at



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